Case 3:19-cv-02407-CAB-AHG Document 3-1 Filed 02/26/20 PagelD.141 Page 1 of1 :
IS 44 (Rev. 09/19} CIVIL COVER SHEET

The J& 44 civil cover sheet and the information contained herein neither replace nor supplement the fiting and service of pleadings ar other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpase of initiating the civil docket sheet. (SEE INSTRUCTIONS GN NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS“F")\@ VT OFA ation , DEFENDANTS
“— * Boryja 7/2. E
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Sohn Des untimied * Meare Bd ea Hi fhary Chen vypAOoes
(b) County of Residence of First Listed Plaintiff San Mey 6 County of Residence of First Listed Defendant provatéta Wie Mi mikdl
(EXCEPT IN US. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVGCLVED.

(c) Attorneys (Firai Name, Address, and Telephone Number) Attorneys (if Known)

HGOVEZYOT cAB AKE

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) IH, CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “X" in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant}
1 U.S. Government YG Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Government Not a Party} Citizen of This State XK 1 O 1 incorporated or Principal Place o4 a4
of Business In This State
0 2 US. Government O 4 Diversity Citizen of Another State O2 © 2 Incorporated and Principal Place O05 o85
Defendant (indicate Citizenship of Parties in Hem [TT) of Business In Another State
Citizen or Subject of a O3 © 3. Foreign Nation o6 oO86

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CONTRAC Pes  STORTSS es : i CDE BANKRUP!
110 Insurance PERSONAL INJURY PERSONAL INJURY (4 625 Drug Related Seizure (7 422 Appeal 28 USC 158

ons.
OTHER STATES:

aq DO 375 False Claims Act
O 120 Marine 0 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |) 423 Withdrawal G 376 Qui Tam (3) USC
O 130 Miller Act 0 315 Airplane Product Product Liability 690 Other 28 USC 157 372%a))
O 140 Negotiable Instrument Liability © 367 Heatth Care/ © 460 State Reappartionment
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C1 151 Medicare Act 330 Federal Employers’ Product Liability O 830 Patent 7 450 Commerce
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Student Loans 0 340 Marine Injury Product New Drug Application [0 470 Racketeer Influenced and
(Excludes Veterans) 01 345 Marine Product Liability 840 Trademar Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY [= SOCIAL SECURIT) O 480 Consumer Credit
of Veteran's Benefits O 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards O 861] HIA (1395) (15 USC 1681 or 1692}
O 160 Stockholders’ Suits O 355 Motor Vehicle O 371 Truth in Lending Act OF 862 Black Lung (923) G 485 Telephone Consumer
O 190 Other Contract Product Liability fT 380 Other Personal 06 720 Labor/Management O 863 DIWC/DIWW (405(g)) Protestion Act
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O 362 Personal Injury - Product Liability O 751 Family and Medical , Exchange

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PRISONER PETIFIONS «|

& 216 Land Condemnation

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(F 220 Foreclosure 0 441 Voting O $463 Alien Detainee Income Security Act or Defendant) C7 895 Freedom of Information
© 230 Rent Lease & Ejectment 0 442 Employment O 510 Motions to Vacate © 871 IRS-Third Party Act
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(1 245 Tort Product Liability Accommodations O 53) General O 899 Administrative Procedure
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Other OG 5590 Civil Rights Actions : State Statutes
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V. ORIGIN (lace an "¥" in One Box Only)
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(specifi) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):

VI. CAUSE OF ACTION Brief description of cause: ME ee bre  AAPISEE BES Som Qasr ly Sar Deray Cad vivt, on
Eo DANCER INE ASMAM ITS Misesé oF hati fieiag (ete eS SOCE
VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION ‘DEMAND § t}. crite CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes _ SRNo
VILL. RELATED CASK(S) -
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RECEIPT # AMOUNT APPLYING IFP , JUDGE MAG. JUDGE

